          Case 1:17-cv-10566-DJC Document 80 Filed 12/05/18 Page 1 of 1



                               UNITED STATES DISTRICT COURT

                                 DISTRICT OF MASSACHUSETTS



WILLIAM MCDERMET



v.                                                      CIVIL ACTION NO. 17-10566-DJC



TRINITY HEATING AND
AIR, INC.




                           SETTLEMENT ORDER OF DISMISSAL



CASPER, D.J.


        The Court having been advised by counsel for the parties that the above-entitled action has

been settled;

        IT IS HEREBY ORDERED that this action is hereby dismissed without costs and without

prejudice to the right, upon good cause shown within thirty (30) days, to reopen the action if settlement

is not consummated.




                                                        /s/ Lisa M. Hourihan
December 5, 2018                                        --------------------------
                                                        Deputy Clerk
